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 1            UNITED STATES DISTRICT COURT OF MARYLAND
                           SOUTHERN DIVISION
 2
   ---------------------------x
 3 UNITED STATES OF AMERICA            :
                Plaintiff              :
 4                                     :
                                       :
 5 vs                                  :Criminal Action:RWT-04-0235
                                       :
 6                                     :
     LAVON DOBIE, et al       :
 7                  Defendants.        :
     ---------------------------x
 8

 9                                  Tuesday , December 19 , 2006
                                    Greenbelt, Maryland
10
           The above-entitled action came on for a      Motions
11 Hearing Proceeding before the HONORABLE ROGER W. TITUS,
   United States District Judge, in courtroom      4C ,
12 commencing at 2:52 p .m.

13            THIS TRANSCRIPT REPRESENTS THE PRODUCT
              OF AN OFFICIAL REPORTER, ENGAGED BY
14            THE COURT, WHO HAS PERSONALLY CERTIFIED
              THAT IT REPRESENTS THE PROCEEDINGS   , AS RECORDED
15            AND REQUESTED.

16

17            APPEARANCES:

18            On behalf of the Plaintiff:

19            DEBORAH JOHNSTON, Esquire
              BONNIE GREENBERG, Esquire
20

21
              On behalf of the Defendant:
22
              PETER WARD, Esquire
23

24
   Tracy Rae Dunlap, RPR, CRR                            (301) 344-3912
25 Official Court Reporter




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25 Reporter's Certificate                                   59




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 1           MS . GREENBERG :      Your Honor , we are here in the

 2 matter    of United    States    versus    LaV on Dobie ; criminal

 3 matter    numb er RWT-04-0235 .      Bonn ie Greenberg          for the

 4 United    States.     With me at counsel table is          Deborah

 5 Johnston and task force officer             Thomas    Eveler.      We're

 6 here for sentenci ng , Your Honor .

 7           THE COURT:     All right .       Counsel , just let me

 8 confirm     for the record      that both sides have had an

 9 opportunity     to re view the pre sentence          report .     Is that

10 correct ?

11           MR. WARD:     Peter Ward represent ing Ms. Dobie , by

12 appointment .

13           Yes , we have re view ed the pre sentence             report ,

14 and I filed some exception s; a sentenci ng memorandum .

15           THE COURT:     Yes , I have the benefit          of that .

16           Now , I have your memorandum         date d December       4,

17 2006 , Mr. Ward .      That 's the memorandum         you're     referring

18 to ?

19           MR. WARD:     Yes .

20           THE COURT:     Okay .    And I also have a copy of

21 your letter     to the probation      officer    of November        6.

22           MR. WARD:     That 's correct , sir .        That 's the

23 exception s, Your Honor .

24           THE COURT:     Correct .     And I also have a letter

25 from you to me date d December            10 to which there is




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 1 attach ed a number       of document s that I have re view ed .

 2 In addition , today in the mail I got a letter                 from

 3 Barbara     Ann L. Coleman    who has written      on her behalf .

 4            MR. WARD:     Excuse   me , Your Honor ?

 5            MS . GREENBERG:      Your Honor , I didn't      get a copy

 6 of that letter .

 7            THE COURT:     I can just read it into the record .

 8 It 's very short .

 9            MR. WARD:     It 's an individual     at the jail , Your

10 Honor .     I haven't    seen it .

11            THE COURT:     It says , "I t's an honor and

12 privilege     to write this letter        of reference     for Ms .

13 Lavon Dobie.      I have known       Lavon for one year    .    We met

14 while we were incarcerate d together            in Upper Marlboro

15 Womens     Detention    Center.      Her characteristics

16 consistently portray a person w           ho is dependable ,

17 genuine , honest , a self- start er , and very astute             to

18 details.      She is definite ly the kind of person             you can

19 count on .      Her integrity     goes beyond    question ing .        I

20 have no doubt that you will find her to be a person                        who

21 deserves leniency in her case and one who deserves                     the

22 opportunity for        rehabilitation     with a less er

23 sentenci ng .     Sincere ly ."      That 's the entire ty of the

24 letter .

25            MS. GREENBERG :      Thank you , Your Honor .




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 1           THE COURT:       All right .     Is there any

 2 dis agreement    between     the parti es with respect       to the

 3 factual    matter s contain ed in the pre sentence          report ?   I

 4 will separate ly address        the question     of offense    level

 5 and criminal     history     category .

 6           MS . GREENBERG :     No , Your Honor .

 7           MR. WARD:     With respect       to factual    matter s, I

 8 don't believe     so , Your Honor .

 9           THE COURT:       All right .     Well , I will adopt as my

10 factual    find ings the find ings of fact contain ed in the

11 pre sentence    report .     I n re view ing the presentence

12 report    and your sentenci ng memorandum         Mr. Ward , the

13 issue s are whether        or not your client 's offense       level

14 should    be enhance d for obstruction         of justice , whether

15 it should    be reduced      for mitigati ng role , and whether

16 it should    be reduced      for acceptance     of responsibility .

17 Are those the three major issue s?

18           MR. WARD:     That and the offense       level

19 calculation     with respect     to heroin , Your Honor .

20           THE COURT:       Well , let me hear you first on the

21 offense    level calculation .

22           MR. WARD:     All right .       Your Honor , in short , the

23 government     report ed to Mr. Turn er , the probation

24 officer , and he report ed in his -- in the PSI that the

25 amount    of heroin    attributable       to my client   was at least




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 1 --

 2            COURT REPORTER:       You 're going to have to repeat

 3 that .     I could n't hear .

 4            MR. WARD:     I beg your pardon .        Mr. Turn er --

 5 first of all , the government          report ed to Mr. Turn er ,

 6 and Mr. Turn er use d in the calculation s that he made as

 7 to base offense        level the amount        of heroin   attributable

 8 to Ms. Dobie as "at least          one kilogram ."

 9            The jury found at Paragraph           29 of the verdict

10 form that the amount        of heroin    attributable       to Ms.

11 Dobie was 100 grams but less than one kilogram .                    Now ,

12 it is our position , as succinct ly as possible , that

13 under Apprendi       any fact -- I'm talk ing about a fact

14 having     to do with the amount       of heroin     -- that

15 in crease s the penalty       for a crime beyond       the pre scribe d

16 statutory     maximum    must be submitted        to a jury and

17 prove d beyond a reasonable doubt          .

18            THE COURT:     Let me ask you this , Mr. Ward .            You

19 have raise d an issue with respect              to that matter      of a

20 presentence      report , but am I not correct         that under

21 Sect ion 2(D)( 1.1 )(c)(7) , level 26            is appropriate      where

22 there 's at least       100 grams but less than 400 grams of

23 heroin ?

24            MR. WARD:     I think that 's correct , Your Honor ,

25 but the amount       is significant     with respect       to the




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 1 mandatory    minimum    five year s as opposed            to ten year s.

 2           THE COURT:     Okay .

 3           MS . GREENBERG :       Your Honor , I will shortcut

 4 this .    I believe    I object ed to that .            I said it should

 5 be a five -year mandatory         minimum.       I've spoken     to Mr.

 6 McMann about it and we agree it should                   be five year s,

 7 not ten year s.

 8           MR. WARD:     Fine .     Then if we agree -- of course ,

 9 as the court always       point s out , the court is not bound

10 by the pre se ntence     report     and the court has to make its

11 own objective     and in dependent         find ing .     That is the

12 reason    why I raise d that particular           issue .

13           THE COURT:     Well , the -- I'm going to get to the

14 place to correct       in the pre sen tence report .

15           MS. GREENBERG:         Paragraph     60 , Your Honor .

16           THE COURT:     Sixty ?     Okay .     Thank you .

17           MS. GREENBERG:         Then it continue s.

18           THE COURT:     All right .        In Paragraph      16 then it

19 would be at least       100 grams of heroin .

20           MS. GREENBERG:         Yes, sir .

21           THE COURT:     That 's what's        required     there , 100

22 grams .

23           MS. GREENBERG:         Instead    of one kilogram .

24           THE COURT:     Instead     of one kilogram .         So I'll

25 change    it to at least     100 grams of heroin .




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 1            MR. WARD:     Thank you , Your Honor .

 2            THE COURT:     Now , tell me where you want to also

 3 affect   this on the mandatory         minimum .    Or is that the

 4 paragraph    I need to find ?

 5            MS. GREENBERG:     Your Honor , then it goes on to

 6 Paragraph    148 where it says the minimum           term of

 7 im prison ment is ten year s.       It should      be five year s.

 8            THE COURT:     Okay .

 9            MR. WARD:     That affect s the mandatory      minimum

10 under count one , of course .

11            THE COURT:     Okay .

12            MR. WARD:     Your Honor , let me address , if I may

13 now , the mitigati ng role in crease .        The sentenci ng

14 guideline s provide       for grad ations,   if you will , of

15 role .   Minimum   role call s for a reduction         of or a

16 downward    departure     of up to four level s for a min or

17 role for a downward        departure    of up to two level s and

18 anywhere    in between     for a downward    departure    of up to

19 three level s.     I think that 's 3.3(B)( 1.2 ).

20            Your Honor , simply     look ing at what we've heard

21 this morn ing , and with respect         to one defendant      what

22 you will hear later on to day , and that is with respect

23 to Ms. Martin , Mr. Whiti ng , Mr. Bynum and Mr. Good win ,

24 and you only have to look to the evidence              that was

25 present ed during       the trial with respect       to Mr. Good win




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 1 to see that all four of those individuals              are clear ly

 2 in a separate     and distinct     category , if you will , from

 3 my client .

 4            My client , I suggest    all the evidence         show s, was

 5 deal ing in relative ly -- and I say "relative ly " because

 6 there 's been testimony       about kilo s upon kilo s upon

 7 kilo s in relative ly small amount s.           I think -- and that

 8 was primarily     to satisfy     her habit .     I think even when

 9 the amount     that was re covered    at her house it was

10 something     like 11 grams ?     Something     like 11 grams

11 which , as I said , in contrast       to the amount s that we

12 have heard is truly an almost         in significant        -- not

13 significant     but almost    in significant     amount .

14            I think if we look to the role of the defendant

15 and my client , Ms. Dobie , and her relationship               to Ms.

16 Martin , it appear s to me , at least          that the crux of the

17 evidence     was that my client     was considered      by Ms.

18 Martin   to be somewhat      of a nuisance      and a pest comi ng

19 around   knock ing on the door at all hour s of the night

20 look ing for drug s and generally        creati ng those kinds of

21 problem s.

22            I do recall   one specific    conversation        where Ms.

23 Martin , in a discussion        with another     individual     whose

24 name escape s me at the present         time , talk ed about not

25 let ting Becky into your business .            In other words , she




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 1 was , I suggest , and the evidence         support s it , outside

 2 of the main group of conspirator s in this case .              She

 3 was n't a money person ; she was n't arrangi ng kilo

 4 quantiti es to be ship ped in from out of state .            If you

 5 look at the ledger        that was produced    that was kept by

 6 Ms. Martin , she was pretty       much a cash and carry

 7 relationship     -- had pretty    much a cash and carry

 8 relationship , and in really       relative ly small amount s

 9 consistent     with individual    use .

10            We've had argument s here today and previous ly

11 about forfeiture s and talk ing about extreme ly

12 substantial     amount s million s upon millions      of dollar s.

13 The government     did not see fit to proceed        against     my

14 client   because   as the government       said , she ain't got

15 nothing .    She has no assets     and there is nothing        at all

16 -- there was nothing        at all produced    at trial and put

17 before   this jury to show that my client         ever benefit ted

18 in any substantial        or financial    way from the activities

19 of which she was convict ed .

20            The benefit    to her basically    was that she got

21 drug s for herself       out of what she did to satisfy        this

22 long -stand ing habit .      I suggest    therefore , Your Honor ,

23 that she stands     -- that is, my client       stands   a term or

24 of role outside     the circle , the inner circle        which

25 included    Ms. Martin , Mr. Good win , Mr. Whiti ng and Mr.




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 1 Bynum,    and for that reason      I would respect fully suggest

 2 that she ought to be grant ed a mitigati ng de crease              to

 3 distinguish      her role or her participation         from the

 4 role s and participation        of the other people      whom I've

 5 mention ed .

 6           Your Honor , with respect       to the assertion s of

 7 false testimony      and acceptance      of responsibility .       My

 8 client    took the stand and she testifi ed , I suggest ,

 9 forthright ly and candidly        about the reason s for her

10 involve ment in drug s with this group of people            and the

11 ex tent of her involve ment in drug s with these people ,

12 and she insist s and has always          insisted , and insisted

13 on the stand , and certain ly has insisted            to me that her

14 testimony      at trial as to her participation         was full and

15 forth right and that she accept ed responsibility            and

16 certain ly is willing        to accept   and always    has been

17 willing    to accept   responsibility      for what she did but

18 not for what she did not do and is be a conspirator                 in

19 this circle      involving    Martin , Good win , Whiti ng and

20 Bynum and so forth .

21           The government      asks for an upward      departure

22 based on under representation         of criminal     history .    Your

23 Honor , again I refer to , first of all , the criminal

24 history    as it 's set out in the PSI and the criminal

25 history    to which my client      candidly   admitted    when she




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 1 was on the stand .       She has never , never had a

 2 conviction      for any kind of drug trafficking           offense    in

 3 the past .      All of her prior convictions        are entire ly

 4 consistent      with her testimony     in court , which was that

 5 she was a drug abuser       and support ed herself         and her

 6 habit by engagi ng in addict -type crime s: theft , fraud ,

 7 credit    card fraud , that sort of thing .         There 's

 8 absolute ly no drug trafficking         background    in her past .

 9           With respect    to the guideline      factor s, Your

10 Honor , that 's all I have at this point .           I would soon er

11 go own on to address       3553 issue s.

12           THE COURT:     All right .    Well , let me hear from

13 Ms. Green berg with regard       to the issue s you 've

14 identifi ed .

15           MS. GREENBERG:     Your Honor , as to the reduction

16 for role , I don't want to repeat          what's   in my

17 sentenci ng memorandum .      Quite clear ly , the Fourth

18 Ci rcuit has held that someone         who sell s drug s does n't

19 have a min or role in the drug conspiracy , and that 's

20 been a law of the Fourth Circuit           since 19 90 .     The

21 wiretap    transcript s and tape s are very clear that Ms.

22 Dobie distributed       drug s to other s.    Specifically ,

23 there 's a series      of call s in which she call s Paulette

24 Martin    and says she need ed drug s for Ms. Martin 's

25 nephew , referring      to T'avon   in a subsequent        call .    She




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 1 -- Ms. Dobie tell s Ms. Martin        that T'avon    had come in

 2 and maki ng sure that she got up and out of bed so she

 3 would call Paulette       Martin   to get the ticket s.      So , she

 4 was involve d, as the jury found , in distributing             drug s

 5 and not mere ly possess ing drug s for her personal            use .

 6 The jury was given that option         and they decline d to go

 7 along with it .

 8            In term s of the amount    of drug s we're talk ing

 9 about here , 100 gram s or more of heroin ; five grams or

10 more of cocaine       base and a quantity     of cocaine .     She

11 certain ly does n't have a minor or minimal          role in

12 connection    with that .    When Mr. Ward talks about the

13 over all conspiracy , she 's not being tag ged with that

14 amount   of drug s.     She 's being tag ged with    the amount        of

15 drug s relating    to base offense     level 26 .

16            Based on her conduct , especial ly in light of the

17 amount   of drug s as a seller      and direct ly obtain ing from

18 Ms. Martin    a fair ly large suppli er , I do not believe

19 that she has made out her case for a min or role

20 deduction .     As for whether     or not   a perjury   --

21 obstruction     of justice   enhance ment is appropriate        for

22 perjury .

23            The court heard Ms. Dobie 's testimony , the ever -

24 evolving    story continue s to evolve       as to what Ms. Dobie

25 says about her involve ment with Ms. Martin and what she




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 1 believe s is her conduct           in this case .    The jury

 2 reject ed it , clear ly , by find ing that she possess ed the

 3 gun -- gun s in connection            with drug trafficking , that

 4 she was n't taking        them away from her son , that she

 5 distributed     drug s.

 6            Even today , Your Honor , I was submitted            a letter

 7 from Mr. Ward that -- I don't know              if it went to the

 8 probation     officer     or not .     I know Ms. Dobie intend ed it

 9 to go to the probation         officer .

10            MR. WARD:      Excuse     me .   It did not go , and I

11 explained     to counsel     why , and I'll get to the letter          in

12 a minute.

13            THE COURT :     Okay .

14            MS. GREENBERG:       It's direct ed to him , but now

15 she 's say ing she talk ed to Ms. Martin            because   her

16 husband    was try ing to get a suppli er for Ms. Martin

17 which is , again , another           story different    from the many

18 stori es she 's told the jury dur ing the course              of her

19 testimony .     I don't think         that there 's any question

20 here that Ms. Dobie engage d in obstruction               of justice

21 through    her blatantly      false and lengthy        testimony    about

22 her reason s for these conversation s.              What ticket s

23 mean ; what the cut was for ; how she got the gun s.                 The

24 testimony     was replete     with false statement s that were

25 material    to this case .




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 1           Last ly , Your Honor , as to the under -

 2 representation    of criminal     history .      The Fourth Circuit

 3 has made it quite clear that the court can de part

 4 upwards , based on the in adequacy         of criminal        history     to

 5 reflect   appropriately     the person 's background ,

 6 character    and conduct , to make sure the criminal

 7 history   category    reflect s their criminal        conduct     and

 8 the issue of future       dangerousness ; and I submit           to the

 9 court that with Ms. Dobie 's background , the crime s that

10 she 's done , the court should        de part upward .

11           I think that her criminal        history    is reflect ive

12 of more than a criminal       history     category    six .     I think

13 the court should      de part upwards     as to offense        level s.

14 I think the long er that we -- that Ms. Dobie is aw ay,

15 the safer our society       will be .     Her criminal        histor y,

16 de tail ed in a very thorough        probation    officer 's report

17 by Mr. Mubane,    de tail s not only significant          offense s

18 but the nature    of the offense s.

19           When you read the fact s relating          to the

20 offense s, it cause s one to believe          that she should

21 receive   an upward    departure .      For example , the 19 88

22 conviction    for possession    of a handgun .        Ms. Dobie got

23 zero point s for that , and what happened            in that case is

24 she was with her husband       and an individual         name d Darryl

25 Evans .   She was with them when they broke down the door




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 1 of somebody 's house with gun s, approach ed a victim , and

 2 with these gun s who ran and hid to the base ment .                When

 3 they could n't find the victim , they approach ed the

 4 victim 's girl friend      about it .     They were push ing and

 5 hitting    the girlfriend , who was scream ing , and finally

 6 they got in a silver        and gray BMW and left the area .

 7            It 's when the police officer          at 3 a.m. at the --

 8 the court may recall        that this was a conviction           we were

 9 try ing to introduce       as 404 (b) that the court excluded .

10 It 's when the police officer           at 3 a.m. , a pproach ed the

11 car , that he re covered          two load ed handgun s and

12 cartridge s in the car , along with Ms. Dobie , her

13 husband    and Mr.      Evans .

14            The second    conviction     for which Ms. Dobie

15 received    zero point s for was a 19 89 conviction             when she

16 was 29 .    She went into a Wood ward and Loatrhop              store in

17 Annapolis    and was try ing to gain entry to a jewelry

18 dis play case contain ing approximately            $200,000     worth of

19 jewelry , and she was try ing to force the lock and an

20 employee    came up and she left that particular              case and

21 then she tri ed to jimmy open another             case contain ing a

22 similar    amount    of jewelry      -- of value d jewelry .      The

23 defendant    fled the store after she was observe d doing

24 that , but that didn't       end her criminal       conduct .

25            She and a codefendant        entered    and fled in a




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 1 white Ford Tempo,         and the occupant   of that particular

 2 vehicle     indicated     that he was carjack ed by the

 3 individuals      who we're talk ing about here .        Ms. Dobie

 4 was positive ly identifi ed by the person            whose car was

 5 carjack ed , and he remained         in the car while he was

 6 carjack ed and he was in fear for his life at the time

 7 that his car was taken .

 8           So , again , that 's two very serious        convictions ,

 9 very serious      incident s for which the defendant        got zero

10 history     point s.     And then not only does that continue ;

11 there was a conviction         when she was 31 .      There 's a

12 number    of charge s later on for which they were nolle

13 prossed     or dis miss ed or the conduct        was -- the result

14 was un known .

15           Based on the serious        criminal    history , the

16 government     asks that you de part upward         to a criminal

17 history     offense     level six and de part upward     one base

18 offense     level from the final base offense          level found

19 by the court .         Thank you .

20           THE COURT:       You would in crease     the offense     level

21 by what ?

22           MS. GREENBERG:        By one .

23           THE COURT:       To 29 ?

24           MS. GREENBERG:        In each of those case s, Your

25 Honor , the two most serious          offense s that I've




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 1 de tail ed , if they hadn't        been time -barred    through     the

 2 more recent     conduct    they would have been three point s

 3 and that would have been another               two level s; and the

 4 Fourth    Circuit   talk s about when the court upward ly

 5 de part s as to criminal      history    there should       be some

 6 mechanism , and three point s for criminal             history     get s

 7 your next criminal        history    level .     But then you can

 8 also go up under offense           level conduct     one more level,

 9 since you would then be at the top criminal                 history

10 level range at level six .

11            For example , if the court were in at a base

12 offense    level 26 and add ed two level s for obstruction

13 of justice , which would be 28 , and you were 28 ,

14 criminal    history     category    five , the court could find

15 that the criminal        history    is under represent ed both on

16 the propensity      of the person      to commit     add itional

17 crime s and that the criminal          history     didn't   reflect

18 appropriate     -- the criminal       conduct     appropriately .

19            You could de part upwards       to category      six by

20 find ing there 's three additional             point s, and then also

21 to base offense       level 29 , for a final base offense

22 level range of 151 to 18 8, and that would be the

23 government 's request       at this time .

24            THE COURT:     That would be as to count one .

25            MS. GREENBERG:     That would be as to count one ,




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 1 Your Honor , and only as to that count .

 2            MR. WARD:     Can I respond       to that argument , Your

 3 Honor ?

 4            THE COURT:     Wait .    Which one ?       I want to clarify

 5 with her .     So , your position      is that I should        conclude

 6 that she 's an offense       level 29 and criminal           history

 7 category     six is what you're       say ing .

 8            MS. GREENBERG:     Yes , Your Honor .         Under the

 9 upward    departure     for criminal    history , you can de part

10 upwards    both as to criminal        history     category    and

11 offense    level .

12            MR. WARD:     I'm sorry .    How did we get to 29 ?              I

13 didn't    hear that .

14            THE COURT:     Repeat    for Mr. Ward what you said

15 how we get to 29 .

16            MS. GREENBERG:     Yes , and I will also give him --

17 on Page 7 of my sentenci ng memo when the court de part s

18 upward , the court can consider             de part ing upward      as to

19 criminal     history    category    as well as offense        level s,

20 and that is under United           States    versus   Louthin,      L O U T

21 H I N, which is set forth at Page 7 of the government 's

22 sentenci ng memo , and that 's consistent             with the other

23 circuit s that have considered          the issue , Your Honor .

24            THE COURT:     All right .       And you're    suggest ing a

25 sentence     at the upper end of that ?




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 1            MS. GREENBERG:     Yes , Your Honor .

 2            THE COURT:     All right .    Now , just make sure

 3 we're all on the same page .           Right now , as to count

 4 one , with an offense       level of 28 , criminal      history

 5 category    of five , we're look ing at a guideline          range of

 6 130 to 162 ; correct ?

 7            MS. GREENBERG:     Yes, sir .

 8            THE COURT:     You're   suggest ing on the

 9 under representation       issue that I should       go to offense

10 level 29 and criminal        history    category   six and

11 sentenci ng range of 151 -18 8; is that correct ?

12            MS. GREENBERG:     Yes , Your Honor .

13            THE COURT:     What is your recommendation        within

14 that range ?

15            MS. GREENBERG:     Your Honor , based on Ms. Dobie 's

16 over all history , I believe       she talk ed about a lifetime

17 of being a criminal .        I believe    she talk ed about

18 sell ing stolen    jewelry , involve d in Percocet        and

19 marijuana , involve d in -- from the wiretap

20 conversation s, distributing        to other s including        her son

21 T'avon .    I believe     that the high end of that range is

22 appropriate     at 18 8, and I also re mind the court that

23 there 's a five year consecutive          sentence    based on the

24 use of a firearm        in connection    with drug trafficking ,

25 which is at count 61 , I am inform ed , which would be




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 1 subsequent     to the guideline     sentence .

 2            THE COURT:     Mr. Ward you want ed to respond .

 3            MR. WARD:     Well , I think the basic fault for the

 4 government 's argument      is , first of all , the conduct             to

 5 which Ms. Green berg has referred         is all set out in the

 6 pre sentence    report   and it has been assigned      zero

 7 point s.     Now , the reason    it 's assigned   zero point s is

 8 because     the sentenci ng guideline s say that it should

 9 not be -- it should       not be assigned    any point s.         It

10 should     be assigned   zero point s.

11            What the government     want s to do is now take that

12 conduct , which the guideline s says should          not be

13 considered     in term s of criminal     history , and have the

14 court consider     it in term s of criminal       history .       To me

15 that 's a ridiculous      argument , and it seem s to me

16 inviti ng the court to step into not simply           a very foggy

17 area but into clear error , which I would be happy to

18 take down to the Fourth         Circuit , and I think even with

19 the Fourth     Circuit   I might stand a shot at prevail ing

20 down there .

21            You know , this the guideline s say there should

22 be no point s attach ed to the very conduct          which Ms.

23 Green berg now refer s to in attempt ing to assign            a

24 guideline     point s to it , that 's a circular     argument          that

25 goes nowhere , and to me is not rational           at all .       If the




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 1 government     is going to point to other conduct               and

 2 produce    convinci ng evidence        in term s of docket s or

 3 certifi ed docket       entri es and so forth of other conduct

 4 that would be considered            under the guideline s that is

 5 not in the pre sentence        report , that 's one thing , but

 6 they haven't     done that .        They've   simply    asked you now

 7 to consider     what the guideline s say you ought not to

 8 consider    or you may not consider           because    it 's been

 9 assigned    zero point s.

10            THE COURT:     All right .     First of all , with

11 regard    to the base offense         level , I conclude       that the

12 appropriate     level is 26 before        consideration        of any

13 departure s.     The pre sentence       report    had what appear s to

14 be a typographical        error .     In any event , the base

15 offense    level for the amount         of drug s reflect ed by the

16 verdict    in the case , at least        as to heroin      is fully

17 support ed at the 100 gram or more level , but less than

18 400 grams , so that the base offense              level is a 26 .

19            The issue here is as to some of the enhance ment s

20 and whether     there should        be any reduction s on the

21 question    of obstruction       of justice .      The pre sentence

22 report    provides    for a two level in crease          for

23 obstruction     of justice , a position          support ed by the

24 government     and opposed     by the defendant .         On this

25 issue , Section      3(C)(1.1)      of the guideline s provides         for




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 1 a two level enhance ment and it 's call ed for under

 2 Section    3(C)(1.1)      under the sentenci ng guideline s which

 3 appear    at page s 334 through         337 of the current        version

 4 of the guideline s.

 5            It 's quoted    in part in the government 's

 6 memorandum     at Page 3 which authorize s a two level

 7 enhance ment :     If the defendant        will fully obstruct ed or

 8 impede d or attempt ed to obstruct             or impede    the

 9 administration      of justice        during   the course    of the

10 investigation , prosecution            or sentenci ng of the

11 incident    offense     of conviction ; and (b), the

12 obstructive      conduct    related     to , (1. )   The defendant 's

13 offensi ve conviction        and any relevant        conduct , or (2.)

14 Two a close ly related        offense .

15            The Fourth     Circuit     has address ed this adjustment

16 and has indicated         that for a sen tencing       court to apply

17 it , based upon an allegation            of perjure d testimony , I

18 must find by a preponderance of the evidence                  that the

19 defendant     testifi ed under oath and gave false testimony

20 concern ing a material        matter     with the intent      -- willful

21 intent    to deceive      rather     than as a result      of confusion ,

22 mis take or faulty        memory .

23            In this case the defendant           took the stand and

24 gave testimony      that I observe d, as did the jury .               The

25 jury listened      to that testimony , obvious ly found it




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 1 want ing in a number       of respect s, and concluded         that she

 2 was guilty     beyond a reasonable doubt         of the offense s of

 3 which she stands        convict ed .

 4            In this case the defendant         testifi ed under oath

 5 as to various     matter s in which she disputed          the use of

 6 the word "ticket s" as a code word for drug s, testifi ed

 7 that the scale s and baggi es were use d for personal              use

 8 and stori ng jewelry       and not for re sale , disputed

 9 whether    cut was use d to cut drug s for re sale or in her

10 case she claim ed to pre vent a drug user 's nose bleed and

11 also testifi ed concern ing the           firearm s found under her

12 bed and next to the narcotic s and scale s, deny ing that

13 they were use d in the furtherance            of drug trafficking

14 which the jury did find or was simply             were taken from

15 her juvenile     son as she testifi ed .

16            I conclude    that the adjustment       for obstruction

17 of justice     is appropriate , because        I find from having

18 listened    to this testimony          by preponderance of the

19 evidence    that that testimony          was false , that it

20 concerned    a material     matter , and that she did so with

21 intent    to deceive .

22            Therefore , I apply the obstruction          of justice

23 enhance ment of two level s bring ing us to a combine d

24 adjusted    offense     level 28 .      The defendant   also contends

25 that there should        be an adjustment      for a mitigati ng




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 1 role or role in the offense        under Section     3(B)( 1.2 .).

 2 3(B)(1.2) authorizes      a reduction , and the contention

 3 here is that it should       be a four level reduction         for a

 4 person   who was a minimal      participant    in any criminal

 5 activity .

 6            Under the application     note s for Section     3(B) (1.

 7 2), it indicate s that the minimal         participant

 8 adjustment     appli es to a defendant     de scribe d in

 9 application     note 3(A) who play s a minimal       role in

10 concert ed activity .     It 's intend ed to cover defendants

11 who are plain ly among the least culpable           among those

12 involve d in the conduct      of a group .

13            Under this pro vision , the defendant 's lack of

14 knowledge     or understand ing of the scope and structure

15 of the enterprise     and under the activities        of other s is

16 indicative     of the role as a minimal participant,           it 's

17 intend ed that the down ward adjustment          for a minimal

18 participant     will be use d in frequent ly .

19            In this case I conclude     that the defendant       is

20 not entitle d to a reduction       or a mitigati ng role .       The

21 defendant 's argument     in support    of a four level

22 reduction     is not terribly    specific , but when one look s

23 at the evidence     in this case , as support ed by the jury

24 verdict,     it is clear that Ms. Dobie obtain ed drug s from

25 Ms. Martin     not mere ly more for personal       use but also




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 1 for resale , and I conclude        that she 's not entitle d to a

 2 reduction     for a minimal    role in the offense .

 3            To the ex tent that she argue s that she 's not

 4 involve d in drug deal ing on the level with Ms. Martin

 5 that is reflected       by the verdict    of the jury on drug

 6 quantiti es and is also reflect ed in the base offense

 7 level that 's calculate d for this case , which is vast ly

 8 different     than that for other defendant s such as Ms.

 9 Martin .

10            The defendant    also argue s for a reduction         for

11 acceptance     of responsibility     under guideline      Section

12 3(E)(1.1)     on Page 1 of the current       version    of the

13 guideline s.     The Fourth    Circuit   has made it plain that

14 in order     to be entitle d to such a reduction , the

15 defendant     must accept   responsibility     for all of her

16 criminal     conduct   and demonstrate    by a preponderance of

17 the evidence     that she 's entitle d to the adjustment .

18            It is clear from Ms. Dobie 's testimony , as well

19 as from call s that I listened        to in this courtroom

20 during     the summer , that she appear s to be a heroin

21 addict     and that she did in deed purchase      drug s some of

22 which were purchase d for her personal          use , and that is

23 good that she admit s to being a heroin          addict , but that

24 is not to be translate d into the same thing as

25 admitting     responsibility    for her criminal       conduct .




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 1            In this case her admission         of possession     was

 2 reminiscent     of that in Gordon       in that she does not

 3 accept    responsibility      for being involve d in

 4 distributing     it , and it is a rare case in deed where

 5 acceptance     of responsibility     would be appropriate        as a

 6 basis for a reduction         in the offense     level when the

 7 government     has been put to its proof , as Ms. Dobie did

 8 in this case .

 9            I find this is not one of those case s where it

10 would be appropriate         for a reduction     for acceptance       of

11 responsibility      and I decline    to apply that downward

12 adjustment     to the offense     level .     The government    has

13 suggest ed that I de part under the guideline s upward                on

14 the basis of the under representation            of Ms. Dobie 's

15 criminal    history , and upward     departure s are governed          by

16 Section    4(A)(1.3)      of the guideline s.

17            I ha ve re view ed the pre sentence     report     and the

18 criminal    history    of Ms. Dobie .       It is apparent    that she

19 has been involve d almost        continuous ly in the criminal

20 justice    system   for an ex tend ed period      of time .    That

21 involve ment in the criminal        justice     system   has earn ed

22 her a criminal      history , a category       of five , which is an

23 impressive     number .     It take s a lot of hard work in the

24 criminal    justice    system   to get to five , and the

25 question    is whether      I ought to conclude     that she ought




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 1 to go upstairs       to a six and go with the in crease            in the

 2 offense    level .

 3            The prior convictions       are laid out in de tail in

 4 the pre sentence      report    beginning    at Paragraph    72 on

 5 Page 14 and goes on for page after page after page to

 6 conclude    on Page 21 .       Ms. Dobie 's criminal      history    is

 7 note worthy    for the ex tent of it .        She has been

 8 consistent ly involve d in the criminal           justice    system        on

 9 a broad variety       of grounds    and , as I said , she 's been

10 hard at work for a long time committing                crime s to get

11 to a level five , and some of the crime s on this report

12 don't count towards        her criminal      history    category    in

13 this case .

14            While I'm tempt ed to de part , I think I have some

15 discretion     in this regard .      I think it is correct          as ,

16 Mr. Ward point s out , that this is not a long series                    of

17 drug distribution        convictions    but an as sort ment of

18 convictions     for a variety      of thing s, not all of which

19 sound like the type of behavior             she 's engagi ng in an d

20 has engage d in in this case , as found by the jury .

21            Having    considered    this history , I conclude        that

22 criminal    history     category   five is appropriate , and I

23 therefore     decline    to de part upward     as recommend ed by

24 the government .        That mean s that for sentenci ng

25 purpose s I will be sentenci ng on the basis of a




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 1 combine d offense     level of 28 , criminal        history    category

 2 of five and that provides         as to count one , a guideline

 3 range of 130 -16 2 month s and as to count 61 , a

 4 six ty -m onth term that 's required      to be consecutive          to

 5 all other count s.

 6          I'll be glad to hear from you , Mr. Ward , on

 7 sentence .

 8          MR. WARD:     Yes .    Your Honor , let me first refer

 9 to the letter    I sent the court on December           10 th wi th

10 attachment s.    It 's worth -- I'm not going to go through

11 them ad nauseam , but I think it 's worth --

12          THE COURT:     This is your sentenci ng memorandum ?

13          MR. WARD :    No .    I'm sorry .   This is the letter

14 that I sent on December         10 , Your Honor .

15          THE COURT:     Yes , I have that .     Okay .

16          MR. WARD:     We have -- this is the numbered

17 paragraph s I'm going to refer to .          Paragraph    1 and

18 Paragraph    6, in two instance s the defendant , Ms. Dobie ,

19 was recognize d for participation         in a program        of

20 speak ing to community        member s who -- including        young

21 people   who were comi ng into the jail about the

22 realiti es of jail life and the consequence s of illegal

23 activities    and behavior s.      And she -- as Your Honor

24 point ed out , Ms. Dobie has an extensive            and consistent

25 -- has had extensive      and consistent      contact    with the




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 1 criminal     justice    system .   And certain ly if anybody

 2 know s what it 's about and what devastation           it can cause

 3 in one 's life , Ms. Dobie certain ly know s that .          I think

 4 it 's commendable       that she took it upon herself      to try

 5 to point out to other young impressionable             people    what

 6 the kind of life that she has led can lead to and in

 7 this case is lead ing to .

 8            There were a couple        of other letter s, Your

 9 Honor .     Number    two -- item number two and item number

10 three , both letter s from former          in mate s at the Prince

11 George's     County    Detention   Center who note the kindness

12 and the advice        and the assistance     that Ms. Dobie gave

13 to them while she was incarcerate d.

14            THE COURT:     To which you can add the one I read

15 at the beginning        of the proceed ings today .

16            MR. WARD:     I'm sorry ?

17            THE COURT:     To which you can add the letter         th at

18 I received     today and read into the record         from Barbara

19 Coleman .

20            MR. WARD:     Oh , yes .    So she 's not just sat back

21 in her cell and ponder ed her like ly fate in this case .

22 She has been do ing positive          thing s by try ing to deter

23 other s from the kind of life that she has -- I can't

24 say enjoy ed -- experience d, let 's put it that way .             A

25 significant     event , Your Honor , is number five , the




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 1 document    which con firms that she was en roll ed in the

 2 institution 's trustee       program   as of January      11 , 2006 .

 3 I am told that it is high ly un usual for a federal

 4 detain ee to be accept ed and award ed the role of

 5 trustee , and I think clear ly that show s some

 6 exceptional ly favorable       conduct    on her part .

 7            You will note , Your Honor , in Paragraph           7(A)

 8 that my client     received    an award for success fully

 9 completi ng an eight -week re lapse prevention            group in

10 moral recantation     -- carnation       therapy    deal ing with

11 drug addiction , and then in Paragraph             9 she also

12 received    a certificate     for completi ng a 28 -day program

13 address ing , number one , the drug add iction          that she has

14 experience d and , number two , tie d necessarily           with it

15 the impact     that it has had on her life .

16            In Paragraph    11 , while she was at the Montgomery

17 County Detention     Facility    -- I, of course , re mind the

18 court that she 's been in custody          since the very day she

19 was arrested     -- she participate d in -- also in a jail

20 addiction s program       on moral recarnation       therapy    program

21 and was a volunteer , hard worker          and representative         on

22 the in mate council,       and she was given a favorable

23 institutional     report .

24            Furthermore , and finally , in Paragraph         12 , she

25 received    a certificate     of accomplish ment in September




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 1 2004 by the inter de nomination al parent ing workshop

 2 ministry     for having    complete d the requirement s for the

 3 August    Christian    parent ing workshop .

 4            So , although   she has been confine d, Your Honor ,

 5 since the date of her arrest , she has not sat idle .

 6 She has done construct ive and positive          thing s for other

 7 people    in term s of , as I said , lay ing out the danger s

 8 and pitfall s of the kind of drug addict ed life that

 9 she 's had , but she 's also tri ed very hard to benefit

10 herself    examining    in the drug program s the kind of

11 factor s that go into maki ng one an addict          and the

12 factor s that go into maki ng one someone         who can

13 over come addiction .

14            Now , I have a letter    here today that I gave a

15 copy to the government , and it is -- was sent to me ,

16 forward ed to Mr. Mubane,       the probation    officer .     It was

17 date d October    26 , and before    I had the opportunity        to

18 send it I spoke to Ms. Dobie after receiving             another

19 letter    from her and she asked me not to send it because

20 there is -- there are matter s in the letter            which are

21 so personal     and upsetting    to her that she did not want

22 them , if you will , spread      on the public    record     in term s

23 of being included       or quoted   in a pre sentence    report    and

24 the like .

25            I've given the government      a copy of this letter ,




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 1 Your Honor .        I would like to give the court a copy .           A

 2 lot of what's        in this letter     has already    been referred

 3 to by me , but there are certain           part s of it that I

 4 would like the court to -- my client            would like the

 5 court to consider        in imposing     sentence    in this case .

 6            THE COURT:     You want to give me just a second            so

 7 I can read it ?

 8            MR. WARD:     Yes , of course , Your Honor .

 9            THE COURT:     Let me take a look at it .

10            MR. WARD:     Let me just say , if I may , the part

11 I'm referring        to that she did not want spread        on the

12 public     record    is the paragraph     that begin s on Page 2 --

13 the second     page , "A lso I fail ed to inform        you ,"

14 etcetera .

15            THE COURT:     All right .

16            MS. GREENBERG:     Your Honor , I would suggest          the

17 court read the entire        letter .

18            THE COURT:     I'm going to read the entire           letter .

19            MS. GREENBERG:     Thank you .     Note

20            THE COURT:     All right .     I've finish ed the

21 letter .

22            MR. WARD:     Thank you , Your Honor .

23            THE COURT:     Do you want this back ?

24            MR. WARD:     Well , I would ask the court perhaps

25 to keep it in the court 's file so that it 's not in the




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 1 public    file .

 2            THE COURT:     All right .    I can do that .

 3            MR. WARD:     First of all , the part that I

 4 certain ly can mention       and I feel free to mention         to the

 5 court and with my client 's authorization           is the fact of

 6 the abuse -- physical        abuse that she suffered       at the

 7 hands of her husband , which was on going for some year s,

 8 and the fact that -- I believe           she testifi ed to this

 9 also that it was after meet ing Mr. Dobie , who

10 subsequent ly became       her husband , that she was

11 introduced    to cocaine     and heroin    and the general

12 criminal    milieu     in which she was liv ing and operati ng

13 for so many year s.

14            With respect    to the matter    on Page 2, Your

15 Honor , at the top .       I want to be care ful what I say

16 because    I don't want to , you know , go into de tail s

17 here .    But I can tell the court that when I met with

18 Ms. Dobie after having        received    this letter   and

19 discuss ed it with her , it was a very emotional              meet ing ,

20 and Ms. Dobie broke down and cri ed and confide d in me

21 about some of the factor s mention ed here .

22            I know that the court can appreciate         the long

23 lasting    sequela     of the kind of conduct    that is talk ed

24 about , the shame and the embarrass ment accompani es that

25 kind of conduct .        I'm no psychologist , and my client 's




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 1 no psychologist , but she feel s -- and it sounds

 2 rational     and reasonable     to me -- that perhaps       those

 3 experience s have somewhat        colored   her life .     Not

 4 somewhat .     I think they have extensively         colored      her

 5 life and perhaps         contributed   to the self- defeat ing

 6 habit of taking     drug s that she 's had for so many year s.

 7            As I said , that is something       that she has --

 8 that is , the drug habit is something            that she has taken

 9 very positive     step s to address      and to understand        and to

10 try to over come , and Ms. Dobie tells me that since this

11 letter   of October       26 , she has entered    into a

12 therapeutic     program     at the Prince   George's     County

13 Detention     Center on a regular       basis to address     the

14 issue s that are discuss ed and that she is on medication

15 which is de sign ed to de crease        her depression .     God

16 know s anybody    in her position , having        been in jail for

17 two year s plus , would be de press ed , but I'm talk ing

18 about the specific         kind of depression , Your Honor , that

19 accompani es the kind of the or result s from the kind of

20 circumstance s that are related .

21            Address ing the 3553 factor s.        We've talk ed about

22 the nature     and circumstance s of the offense .          I've jus t

23 address ed some factor s about my client 's history               --

24 personal     history .

25            As for the seriousness       of the offense .




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 1 Certain ly what she has been convict ed of is -- are

 2 serious    offense s.     But again I ask the court to

 3 consider     them in the context       of the whole scheme , if

 4 you will , and her relationship          to the whole scheme         as

 5 compare d to Ms. Martin        and other s so that the court has

 6 sentence d and will sentence          later on to day .

 7            The question    of deter rence obvious ly is a factor

 8 that always     has to be considered       by a court in imposing

 9 sentence .     That is deter rence not only of my client              as

10 far as    future    criminal   conduct   is concerned      but the

11 deter rence of other s, and I would point out with

12 respect    to deter rence that again I would point out that

13 she has no criminal        history    of trafficking      in drug s in

14 her past .

15            She 's a junkie .    Certain ly she 's bought      drug s

16 and certain ly she 's use d them , but she has no

17 convictions     anywhere    for that kind of conduct         in the

18 past , and I think that that is a fact you can consider

19 with respect       to deter rence of her protection         of the

20 public    from further     crime s.

21            Your Honor , look ing at the defendant 's past

22 criminal     history    as you have , I know , and study ing it ,

23 she has never before        found herself    in a situation ,

24 thank God , like this , and she has never been , I don't

25 think even when she 's been convicted , serve d the two




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 1 year s plus that she has serve d in this case so far .

 2            I believe , based on my conversation s with her ,

 3 that what she has experience d so far and what she

 4 stands   to face today as a consequence           of the court 's

 5 sentence    has had and will have a very dramatic          effect

 6 on her life and the conduct          of her life in the future .

 7            As far as   educational    and vocational    train ing .

 8 Certain ly that 's something      that my client      could benefit

 9 from .   I might say I've been im press ed -- I think she 's

10 a very intelligent       individual .    Obvious ly , she did

11 stupid   thing s in this case , but I do think she 's an

12 intelligent     individual , and I do think she can benefit

13 from the kinds of opportuniti es she will have with

14 educational     and vocational    train ing .

15            But I think most significant         she will have the

16 opportunity     for the kind of medical         care or the kind of

17 psychological     attention   that I think she -- well ,

18 number one , that she has already         embark ed on , and

19 certain ly she will need to continue            for probably   some

20 substantial     period   of time in order       for her to overcome

21 the kinds of sequela       that I talk ed about in the letter .

22 And I expect     that while she is in federal         prison , she

23 will avail herself       of those opportuniti es and do

24 everything     she can to get her self back on track .

25            Your Honor , there 's only one further       thing I




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 1 want to bring to the court 's attention , and I frankly

 2 don't know the answer         to this .     The government,     because

 3 of the fact she has been a trustee             at the Prince

 4 George's    County      Detention    Center , has earn ed some good

 5 time .    Certain ly if she had been in federal             custody

 6 serving    a sentence      of imprisonment     all along , she would

 7 have earn ed some good time and she tell s me she 's aware

 8 of other case s where a court has recommend ed to the

 9 Bureau of    Prison s that she be given allowance             for

10 whatever    good time she earn ed while being held as a

11 federal    prisoner      in state custody , and I would ask the

12 court to respect fully consider            do ing that .

13            Now , Ms. Dobie , you have an opportunity           to say

14 anything    you wish right now to Judge Titus with respect

15 to what sentence         he should    im pose in this case .        Do you

16 have anything     that you want to say to the judge at this

17 time ?    And if you do , just stand and tell the judge

18 whatever    you want to tell him .

19            THE DEFENDANT:      I would like to first apologize

20 to my family     and the court s.         I can't change     the past ,

21 but I know that if given the opportunity              to return        to

22 society , I would never be involve d in nobody               else 's

23 conspiracy     case .     I know drug s and alcohol        is a direct

24 result    of why I stand before         you today .   De spite the

25 jury 's find ing , I testifi ed truth fully .




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 1            I'm a drug user .       I purchase d cocaine        from Ms.

 2 Martin     for my personal       use .    I testifi ed in April of

 3 '05 that I had no knowledge              of that box .      I can say ,

 4 Your Honor , had it be 11 grams of heroin                 in my home , I

 5 would have use d it .      Had they pursue d Mr. Dobie , I

 6 would have testifi ed that the 11 grams was not mine .                     I

 7 had no knowledge       of it .     If they decide        to do that

 8 today or tomorrow , my testimony             would be the same .

 9 They said they found some cocaine              in another      bedroom

10 where James Park er and Anthony             Cart er was .     If they

11 pursue     them , I'll come in here and testify .              They

12 should     receive   the time if this is what they found .

13            Ms. Martin .   I wish I would n't have never met

14 her .     It 's too late for that now .             Never would I have

15 set at this defense       table with those six other people .

16            I would have taken responsibility              for those

17 gun s.     Whether   they believe        it or not , I gave you the

18 truth .

19            Mr. Dobie , the wiretap s state s, nephew            asked him

20 did he find out anything           during    his 12 year s of being

21 incarcerate d in the federal             system .     He be friend ed some

22 people     that could get some drug s.              And Ms. Martin

23 inquired , yes .      I knew that she had inquired ; I re lay ed

24 the message , Paula want to know did you find somebody .

25 But know ing somebody      that Ms. Martin            could purchase




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 1 some cocaine      from , some kilo s, I had no knowledge         of

 2 that .   I know that they know this today .           It was rough

 3 in the beginning      when I first got lock ed up on this

 4 case because      it was n't my charge .

 5          As far as    me using , as far as       some of those

 6 scale s and stuff being in my home .         Yes , my husband

 7 having   a connection       that he could possibly     do something

 8 for Ms. Martin ?      I was aware of that .       I even re lay ed

 9 the message    to him .      It never jump ed off .    The person

10 never got out the half way house .

11          Most important ly , if I could take back not only

12 this case , I would go further .         I've made some mis take s

13 in parent ing .     I never gave my son any drug s.         My son

14 did not catch a charge         until after my arrest .      The same

15 person   that was in that BMW in 19 88 or '89 that the

16 paperwork   says Darryl       Evans is the same Danny Evans I

17 met on that stand .

18          I've done a lot that I'm ashame d of that and I

19 regret   whole heart edly .      I know this .    Whether   I go

20 home five year s from now , ten year s, or die in the

21 penitentiary , I die a different         woman than I came into

22 custody .   For that I say , thank you to the same people

23 that prosecuted      me .

24          I now have address ed some other issue s that I've

25 had bottle d up for so long .        I've been told that it had




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 1 something     to do with it .     I'm not going to blame it and

 2 say that this is why I did that .          Ma ybe it contributed ,

 3 I don't know .      I'm not a psychiatrist      but I know today

 4 it feel s different .     It 's like I'm not hold ing on to it

 5 anymore .

 6          As far as    my marriage .    I don't blame all of my

 7 negativi ty on Mr. Dobie , because       I had a choice .

 8 However , out of love , whatever , I made some poor

 9 choice s to .    Today I'm in the process       of get ting a

10 divorce .     I start ed filing    for it last year .       I want no

11 part of this lifestyle .        If there 's such a thing of

12 retiri ng from an illegal       lifestyle , I'm retired .

13          I've explained     to my codefendant s, call it what

14 you want , snitch ing , whatever .      We go back on appeal , I

15 don't want to sit at that table .          I don't want all

16 those kilo s of cocaine      that I've been convict ed of

17 today to belong      to me when they really      didn't .

18          God know s Ms. Ali 's family      has to feel

19 something .     I know what I've done to my mother .           My

20 mother   asks me every time she come s to see me , you

21 chose Paula over your family .         It was n't a matter      of

22 choosi ng Paula .     I embrace d the illegal     lifestyle .        The

23 people   get kill ed for tell ing .     The o nly thing I could

24 have told the government        was I purchase d.     I was n't

25 involve d, so I didn't know        her connect s or anything




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 1 like that ; however , I felt the same lifestyle                  that I

 2 embrace d that didn't        allow me to meet with the

 3 government , I felt that Ms. Martin            should     have taken

 4 responsibility      and not been on this defense            table with

 5 us .   I can't change      that .

 6            I know for certainty        you all -- I don't pose a

 7 threat .     Whenever    this is over , I get to know today who

 8 La Von r eally is .      I can do something      different        than use

 9 drug s.     This last two year s has been a rude awake ning .

10 I may not never see my mother             again alive .     My

11 grandmother , who 's 93 , that I spoke of , I've accept ed

12 the fact I probably        won't ever get to put my arm s

13 around     her because    of my poor choice s.

14            I mean , one would never understand            or could

15 imagine     the magnitude     of my sincerity .      Yes , I've made

16 some mis take s.      I've never carjack ed anyone .             The

17 charge s were dropped        because     the guy was paid $200 .

18 When they search ed him , everything           I told them about

19 the ring and all that was there .             I'm not deny ing my

20 past criminal      history    at all .     It 's probably    some

21 thing s listed     that I didn't       do or that I pled guilty

22 to .

23            Most important ly , I'm willing        to say it 's some

24 crime s I've committed        and gotten     away with.      I know

25 today that the government           is justifi ed for the picture




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 1 they've     paint ed .    However , God know s if we could do

 2 this all over again , I would n't be on this side .                I

 3 don't ever want to stand in front of you or another

 4 judge for something         I've done or didn't     do , and I ask

 5 that you at this time be as lenient             as possible   not

 6 because     I'm say ing I didn't      do this or I didn't     do

 7 that .

 8           I think I'm worthy        of a second   chance   at life ,

 9 and that 's what I'm asking          for .   I don't want to miss

10 no more funeral s, and I know that I'm going to have to

11 because     of my poor choice s.       It 's been hard .    The

12 mar shals can verify        I've been -- literal ly , me and Ms.

13 Martin    have literal ly went at it .         This is not the

14 lifestyle     I want to be in anymore .         This same lifestyle

15 make s me stand here today , I may walk out of this

16 courtroom     with 20 or 30 year s not because        I was guilty

17 but because      I did some poor thing s.

18           I made some poor choice s.          I blame it strict ly

19 on my drug habit .         I nod ded my way -- when I stood up

20 on that stand , I nod ded my way into an investigation ; I

21 literal ly mean that .        Drug s have cause d me to be a part

22 of this investigation .         I've caught     many drug s in

23 society .     I didn't     become   a part of somebody 's

24 investigation , even down to the part about the

25 insurance     case .     Today I know a whole lot of thing s




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 1 more about the lady I got connect ed to by the hip that

 2 I really    did not know , and it 's a bless ing that I'm not

 3 stand ing here on murder       charge s or conspiracy        charge s,

 4 and I believe     that whole heart edly .

 5          Ms. Johnston      state d when she came over there , I

 6 know you've    become     bitter .     You can't imagine     how

 7 bitter   I really      am , but I still have to accept

 8 responsibility .        If I was n't using , it would n't have

 9 been a connection , because           I didn't know     her business .

10 It was Ms. Levi 's name that Mr. Ward fail ed to remember

11 that state d, I don't want Becky in your business                  or

12 something    to that ex tent .

13          I'm not going to sit here and go back over each

14 telephone    call .     What I will ask you is to allow me to

15 have my time that I've already            done .   I ask that you

16 apply it to both sent ences,           the consecutive     five for

17 the handgun s.        I ask that you order me to participate

18 into another     drug program        if I'm going to be lock ed up .

19 I can't get more than I'll need , because               I don't want

20 -- ever want to use again , and I've never said that .

21 I've never    even -- even the certificate             I was sincere

22 about it while I was there , but I've never made up my

23 mind that I never want to use again .

24          I know that I won't stand before              you or any

25 other court again , if given the chance               to return    to




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 1 society , and I accept        full responsibility          for those

 2 gun s.     The jury didn't     believe    where they came from .

 3 To be honest     with you , if the same situation             happened

 4 tomorrow     and I was home , I would take them not only

 5 from mine , but any youth s.         I put the gun s under that

 6 bed not know ing a white box was under the bed with 11

 7 grams of heroin .

 8            Today I think Mr. Dobie should          have been here ,

 9 not as a spectator         but as a defendant , because         if those

10 were actual ly 11 grams , they weren't            mine .     Those eight

11 grams of cocaine , my brother         and Mr. Dobie 's nephew , my

12 nephew     through     marriage , they should     have stay ed --

13 they should     have been here as a defendant              for those

14 item s.     I was bitter     at those people , but I had to take

15 a look at my behavior         and what contributed          to me being

16 in this lifestyle .

17            My apologi es not only to my family             but to the

18 court , because        initial ly when I came into custody           my

19 attitude     stunk .     I was n't trustee    material      two year s

20 ago .     The court will remember        I had difficulty       at

21 different     place ment s because    of that .     My letter s -- in

22 every letter     I beg ged Ms. Martin        to cut me loose or

23 anybody     else that was truly innocent .          I could never do

24 what Ms. Martin         allow ed to anybody    if -- I could never

25 allow somebody         else to take my weight .




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 1           I have gain ed so much knowledge           about the law

 2 being on this conspiracy        case .     Mr. Ward state d it

 3 best .    My past criminal     behavior , Judge Titus , didn't

 4 consist     of anything    like this .     I didn't    carjack

 5 anybody .     I stole jewelry    and I stole fur coat s; I've

 6 participate d in credit       card fraud .     I could n't have

 7 been a dope seller .        I use dope .     I could n't have made

 8 a good hustler     as far as    drug s.     I don't want to be a

 9 thief anymore .       I can't change      what I did , but I know

10 that your wife , the next door neighbor              would n't be in

11 harm 's way whenever       I return ed to society .

12           I ask that you send me somewhere            my mother    would

13 be at .     If you have any authorization , allow me to

14 remain    somewhere    on the east coast .      My mother    is

15 single , my grandmother 's 93, and they can get in the

16 car and come see me .        I accept     whatever    sentence    you

17 render    and I hope I would be able to deter just one of

18 those kids that I talk to to pre vent them from going

19 through     this , it was worth the experience .          Because       if

20 I could do it all over again , I would n't be a defendant

21 in nobody 's case and I would n't have a criminal                history

22 like this , because       I've had the potential        all my life

23 to do something       different , and it 's sad and I accept

24 that .    Today is not about just possess ing the

25 potential , it 's about do ing something         with it , and I




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 1 ask for another       chance    in life .

 2           THE COURT:     All right .        Thank you .    Ms.

 3 Green berg .

 4           MS. GREENBERG:        Your Honor , I'll be brief .

 5 What this case has shown us with respect              to Ms. Dobie

 6 is that she 's a liar and she 's a manipulat or .                 The

 7 court already     went through      the lie s support ing the

 8 perjury   enhance ment .       She continue s to lie through

 9 these letter s, the letter         that the court read about now

10 say ing what involve ment Mr. Dobie had in try ing to be a

11 suppli er to Ms. Martin         when she think s it will benefit

12 her .

13           She lie d to the jury and to the probation

14 officer   when she said she was a drug counselor                  at the

15 Charter   Behavioral     Center in Rockville , Maryland .

16 Well , probation      locate d the only place which has a

17 close name , Center for Behavioral             Health , and Ms. Dobie

18 was not employ ed there .         She 's a liar and manipulat or .

19           MR. WARD:     Your Honor , I'm sorry .          I don't like

20 to interrupt     counsel , but that 's not appropriate

21 behavior .     She has no proof of that .          My client       was a

22 drug counselor , and I ask the court to simply                   ignore

23 the remark s of counsel .

24           MS. GREENBERG:        Your Honor , it 's at Paragraph

25 18 4 of the pre sentence        report , probation    officer 's note




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 1 says as follow s:       From 19 98 to 2001 , the defendant

 2 state d she was employ ed as a drug counselor            at the

 3 Charter    Behavior    Center   locate d in Rockville , Maryland .

 4 Report edly , she re sign ed from this position          after she

 5 re lapse d on cocaine     and was arrested     for a new offense .

 6 We were un able to locate        a treatment   program    operati ng

 7 under the name provided by          Ms. Dobie, however, the

 8 Center for     Behavioral   Health located in     Rockville,

 9 Maryland    and an employ ment verification       request    was

10 submitted .     The program     report ed Mr. Dobie was not a

11 prior employee .

12            Your Honor , that just adds to the wealth          of lie s

13 that we 've seen in this case .          Ms. Dobie has an

14 in credible    criminal   background .     As the court note d, it

15 involve s violence , it involve s fraud , it involve s gun s.

16 She 's not a junkie , Your Honor , she's been found to be

17 a drug deal er .      I seriously    don't think that the

18 factor s set forth in 3553 are address ed by the high end

19 of the sentence , which is 13 year s, six month s, and

20 then you add on that the five year s consecutive

21 sentence , but it 's a good amount         of time .

22            I do think the defendant       de serve s more , and it

23 is within     the court 's discretion , but I ask the court

24 to exercise     its discretion      now and sentence     Mrs. Dobie

25 to the high end of the guideline           range and in adding




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 1 the five year s con secutive for the        gun offense .        As for

 2 whether    or not she should       get credit    for her

 3 involve ment in activities         at a state facility , that

 4 will be up to the Bureau of Prison s to determine .                As

 5 the supreme     court has found , the Bureau        of Prison s is

 6 to determine        any credit   for time serve d, and I believe

 7 she can consult        with them about whether      they can

 8 address    that .

 9            Nothing    further , Your Honor .     Thank you .

10            THE COURT:     Mr. Ward , do you want to add

11 something ?

12            MR. WARD:     Your Honor , they were un able -- the

13 probation     officer    was un able to find a program

14 operati ng under the name of the program            she was in .

15 That 's entire ly different        than say ing she never was a

16 drug counselor .

17            THE COURT:     Well , can you clear up the question

18 that she 's raise d?

19            MR. WARD:     Yes , she work ed at Charter       Behavior,

20 which is what she said , behavioral         center .       That is a

21 business    that changed     its name to Potomac       Ridge .    Now ,

22 I don't know        where the --

23            THE COURT:     Tell me the name change s.         Tell me

24 the name s again .       It start ed as what ?

25            MR. WARD:     It was Charter   Behavior     Center --




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 1 Behavioral     Center .

 2            THE COURT:      All right .

 3            MR. WARD:      The name changed      to Potomac   Ridge ,

 4 and she work ed there for a Lynn Smith , L Y N N Smith ,

 5 who was her immediate         supervisor .      The fact that they

 6 could not locate        that institution       does n't mean to say

 7 that it didn't     exist .     These place s go out of business

 8 all the time for whatever         reason , or are absorb ed into

 9 other place s for whatever        reason .

10            THE DEFENDANT :     Your Honor , the place isn't out

11 of business .     It 's a very reputable         place in Rockville ,

12 Maryland .     I can't remember      the exact address       but it

13 was Charter     Behavioral     Center when I work ed there .

14 They treat the duly diagnose d -- I work ed as a drug

15 counselor     for the juvenile s as well as the adult s.

16            After reading     the PSI report , I learn ed that the

17 place is now call ed Potomac         Ridge .     It 's still in

18 existence     today .     My immediate    supervisor    when I was

19 there was Lynn Smith , who re sign ed and became             a

20 director     at Crown sville in Second Genesis , and this

21 information     can be verifi ed .       If you was to call a

22 recess   right now , your clerk or somebody            could retain

23 that information .

24            When I met with the PSI report er , I could n't --

25 I didn't have     knowledge     that the place had changed         its




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 1 name , but it 's still in existence         now .   I've seen a

 2 Shannon    Yarborough    who I was her counselor       at the time

 3 come through    Prince    George's     County   as a detain ee since

 4 I've been there , and I've learn ed since October             meet ing

 5 with Mr. Mubane       that that is the name now , Potomac

 6 Ridge .

 7           As a matter of fact    , Your Honor , I'm more than

 8 sure that an abundance       of paperwork       that was seize d

 9 from my home and it had some W-2 form s in it and it

10 state d there Potomac      Ridge .     I know for a fact that the

11 government    know s that La Von Dobie did have a job at one

12 time or another .       I'm not talk ing about any falsified

13 W-2 form s.    The Internal     Revenue    can run that Social

14 Security    number    and confirm     that I work ed at that

15 place .    I got that job in '98 after leavi ng the prison

16 system , and they hire d me due to my drug experience ,

17 and I came out of prison .           I was truthful , and that 's

18 how I got the job .       I was even asked to go with my

19 supervisor , Lynn .      She would have hire d me at

20 Crown sville Second Genesis , and I decline d to go and

21 stay ed on with Charter      Behavioral .

22           THE COURT:     All right .     Anything   further ?

23           MR. WARD:     No , Your Honor .

24           THE COURT:     Counsel,     what I was wait ing for was

25 the speedy    computer s of the State Department         of




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 1 Assessment s and Taxation          online    to tell me about

 2 Charter    Behavior    Health System        at Potomac     Ridge , Inc.,

 3 which is an entity       incorporated        in Maryland , and that 's

 4 the full name .       It has -- it was -- there was a merger

 5 of Charter     Fair bridge    Behavioral       Health System s into

 6 Charter    Behavior    Health System at Potomac            Ridge,    Inc.,

 7 the entity     was create d in 19 94 .         Certain ly sounds         like

 8 they there may very well have been a Charter                  Behavioral

 9 System that is using Potomac           Ridge as a name .

10            I do not consider       this to be particular ly

11 material     to the dis position      of this case , but it

12 certain ly sounds      entire ly possible        that that is the

13 case with regard       to this entity .         If I had more time

14 with the State Department           of Assessment     and Taxation          I

15 could get more information , but it does look like there

16 is a relationship between the name               Charter    Behavioral

17 Center and     Potomac   Ridge .     I'm not going to give too

18 much weight     to the question       of whether     she did or

19 didn't    work as a counselor        there .

20            Let me proceed , then , to the question            of

21 sentence .     I'm required     to consider , under Section               3553

22 of Title 18 of the United           States     Code , a number      of

23 factor s, and I will do that .          One of the factor s I'm

24 required     to consider     and will consider       is the range of

25 sentence     under the sentenci ng guideline s, which in this




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 1 case with respect        to count one is a range at the level

 2 that I have found of 28 and criminal           history    category

 3 five of 130 to 16 2 month s.         The range on the guideline s

 4 for count s 34 , 47 , 50 , 53 , and 57 is 48 month s per

 5 count ; and on count 61 , that has a mandatory            minimum

 6 which translate s into a recommend ed guideline            of 60

 7 month s consecutive       to all other count s.

 8            The nature    and circumstance s of this case are

 9 that the defendant        stands   convict ed in the conspiracy

10 which is    significant ly broader      than her par ticipation

11 in it , and that lesser       involve ment in the conspiracy          is

12 reflect ed by the drug quantiti es attributed            -- as being

13 reasonably     for esee able to her par ticipation       in the

14 conspiracy .     So , she certain ly does not stand before            me

15 with the same circumstance s as Paulette          Martin    did

16 earlier    today , but that does not minimize        the fact that

17 she was associate d with Paulette         Martin , an association

18 that she understandably        now regret s, but that

19 association     led to involve ment with multiple         type s of

20 drug s, and she stands       convict ed of participation      in

21 that conspiracy .

22            The history    and character istic s of the defendant

23 are sad , to put it mild ly .        She 's had a trouble d

24 childhood , as has been communicate d to me today by her

25 very capable     counsel , Mr. Ward , and she 's had a very




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 1 extensive     involve ment in the criminal       law system

 2 earn ing her a criminal        history    category   five .     It 's

 3 significant     that she could manage        to get that high a

 4 criminal     history   category   over a relative ly short

 5 lifetime , because      as she come s before     me today , she is

 6 only 46      year s old .

 7            I'm required     to consider    the need for the

 8 sentence     im pose d to reflect   the seriousness       of the

 9 offense .     I'm satisfi ed that a sentence         under the

10 guideline s system , especially          with the consecutive           time

11 required     by count 61 , will accomplish       that .       I'm

12 required     to consider     the need to promote      respect       for

13 the law , and I believe        that a significant      sentence         is

14 required     to do that and to provide        just punish ment for

15 the offense .

16            I'm also required      to consider   the need to afford

17 adequate     deter rence to criminal       conduct , and those who

18 participate     in activities     of this nature      and stand

19 con victed    of it need to understand        that there must be

20 consequence s to this form of conduct .

21            I'm required     to consider    the need to protect            the

22 public    from further      crime s of the defendant , and I

23 believe     a period   of incarceration      that is significant

24 is required     to do that .

25            I'm required     to provide    -- to fashion       a sentence




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 1 that will provide       the defendant      with need ed educational

 2 or vocational       train ing , medical    care , or other

 3 correction al treatment       in the most effective        manner .      I

 4 believe    that there is great hope that Ms. Dobie 's

 5 participation       in the program s of the Bureau of Prison s

 6 will be precise ly what is need ed to help her , and in

 7 light of her very trouble d background .

 8            I have been to a federal        woman 's prison and I

 9 have seen the facilities        and program s that are

10 available .     I know that Ms. Dobie profess es to be

11 serious    about want ing to address        her past and to

12 receive    counseling .     There are psychologist s in every

13 federal    prison    who can help people      in address ing

14 thing s.

15            It is obvious    that Ms. Dobie has become          addict ed

16 to drug s.     It was rather    dramatic     listening    to some of

17 her telephone       record ings and the way her speech          sound ed

18 that she obvious ly was under the influence              of drug s --

19 could hard ly stay awake during           one phone call , and

20 therefore     I conclude    that , as un pleasant   as it may be

21 to be in prison , that it 's going to provide             an

22 environment     in which it 's going to be possible            for Ms.

23 Dobie to receive       the kinds of help that I think she

24 de serve s.

25            I'm required    to consider     the need to avoid




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 1 un warrant ed sentence     dispariti es , and I believe      the

 2 guideline    sentence    will obvious ly faci litate     that , and

 3 the need to provide       restitution    to any victim s.     In

 4 this case there is no identif iable victim s but , once

 5 again , other s to whom drug s are distributed , and those

 6 who may be on the receiving        end of criminal      conduct

 7 that is engaged     in to feed drug habit s are victim s and

 8 while I can't order restitution .

 9            I have to consider    the need to protect      these

10 people .    According ly , I will im pose a sentence        on count

11 one of 146 month s; on count s 34 , 47 , 50 , 53 , 57 of 48

12 month s on each count to run concurrent           to each other

13 and to count one ; and on count 61 I will im pose the

14 required    sentence    of 60 month s, which will be

15 consecutive     to all other count s.

16            I'm going to make a recommendation        to the Bureau

17 of Prison s, which I don't think         really   is necessary ,

18 but that Ms. Dobie receive        such psychological

19 counseling    as may be available       to her , and that as she

20 near s the end of her sentence        that she -- if she 's

21 otherwise    eligible , to participate       in any residential

22 drug abuse program       for which she may be eligible ,

23 because    she obvious ly has a drug abuse problem .

24            I will im pose a period      of supervised   re lease on

25 count one of five year s; on count s 34, 37 , 50 , 53 , 57




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 1 of one year of each count to run concurrent            to all

 2 other count s; and on count 61 , a period         of supervised

 3 re lease of five year s to run concurrent ly to all other

 4 count s.

 5            I will im pose the mandatory      and standard

 6 condition s of supervision       adopt ed by the court , with

 7 the following     additional    condition s:    That she

 8 satisfactory     already    participate    in a treatment      program

 9 relat ing to    substance    and /or alcohol   abuse ; that she

10 provide     the probation    officer   with access   to any

11 request ed financial       information ; that she not in cur new

12 credit     charge s or open additional      line s of credit

13 without     approval   of the probation     officer ; and that

14 she , to the ex tent that she has n't already         paid it , pay

15 the special     assessment    of $100 per count , for a total

16 of $700 .

17            I will not im pose any fine on any count as a

18 result     of the financial    circumstance s of the defendant ,

19 and I will im pose an assessment          under Title 18 , United

20 States     Code Section    3013 , of $100 per count , for a

21 total of $700 .

22            Ms. Dobie , I first I want to commend        your

23 attorney , Mr. Ward .       I know you had some difficulti es

24 with prior attorney s.        Mr. Ward is an extraordinarily

25 talent ed attorney .       He 's represent ed you well .       I know




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 1 you may be dis appoint ed with this sentence , but it is

 2 -- Mr. Ward has done a fine job for you .

 3            I will tell you that if you really            take

 4 seriously     the program s of the Bureau of Prison s, you

 5 will still have a good bit of life ahead of you when

 6 you come out .      This is not a life sentence , and I don't

 7 want to ever see you again except            under pleasant

 8 circumstance s.      I think you have every reasonable

 9 prospect , if you really       take this seriously , of turn ing

10 thing s around , and I hope -- I really          sincere ly hope

11 you do .

12            Ms. Dobie , you have a right to appeal           the

13 sentence     that I've just im pose d to the United             States

14 Co urt of Appeal s to the Fourth          Circuit .     You must do

15 so , if at all , within      ten day s.     If you're     un able to

16 pay the filing      fee , there 's procedure s to have the

17 filing     fee waiv ed .   The clerk   of the court or Mr. Ward

18 can explain     that to you.     Mr. Ward can also assist            you

19 in initiati ng the appeal .       All right .         Anything    further

20 from the government ?

21            MS. GREENBERG:     Your Honor , at this time I will

22 move to dis miss the earlier        indict ment s pend ing against

23 Ms. Dobie .     She was convict ed in the Fifth Superseding

24 Indictment,     and that one should        remain .

25                   (Off the record      at 4:31 p.m. )




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 1                             CERTIFICATE

 2

 3         I, Tracy Rae Dunlap, RPR, CRR, an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the         Sentencing    Proceedings

 8 in the case of UNITED STATES OF AMERICA versus             LAVON

 9 DOBIE, et al, Criminal Action Number RWT-04-0235 on

10 December 19 , 2006.

11

12         I further certify that the foregoing            58 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17         In witness whereof, I have hereto subscribed my

18 name, this 2nd day of      January 2009.

19

20

21                             __________________________

                               TRACY RAE DUNLAP, RPR, CRR
22                             OFFICIAL COURT REPORTER

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